
PER CURIAM.
Petitioner, pursuant to Fla.R.App.P. 9.140(g), having taken this appeal from the summary denial of his motion for post conviction relief under Fla.R.Crim.P. 3.850 and this court having considered the record presented and having further determined that it conclusively appears therefrom that petitioner is entitled to no relief, the denial of his motion is affirmed. See: Neal v. State, 349 So.2d 844 (Fla. 2d DCA 1977); Ashley v. State, 350 So.2d 839 (Fla. 1st DCA 1977); Wedenfeller v. State, 355 So.2d 193 (Fla. 1st DCA 1978); Pitts v. Turner, 362 So.2d 134 (Fla. 4th DCA 1978); Edwards v. State, 364 So.2d 119 (Fla. 1st DCA 1978); Epps v. State, 365 So.2d 179 (Fla. 1st DCA 1978); Rule 3.850 R.Cr.P.
